Case 1:24-cv-04108-ALC Document 3-28

CIVIL COURT OF THE CITY OF NEW YORK
COUNTY OF BRONX

SYCHRONY BANE
Plaintrff,

— against —

ERIKA WILSON
Defendant(s).

Filed 05/30/24 Page 1of 104

-—- KK
Index No.: 5361/23
NOTICE OF MOTION
TO
DISMISS
x

PLEASE TAKE NOTICE that upon the annexed affirmation of Matthew

achedler, Esq., dated December 6, 2023, upon the Exhibits annexed thereto, upon all the

proceedings heretofore had and papers filed herein, the Defendant will move this Court at

the courthouse, located at $51 Grand Comeourse, Bronx, WY 10451, Part 32C, Room 504,

of the Civil Court of the City of New York, County of Bronx in the State of New York

on the 11" day of January 2024 at 9:30 a.m. or as soon thereafter as counsel can be heard,

for-an order: (1) dismissing the action pursuant to C.P_L.R_ § 3211 {a)(8) because the

Court lacks personal jurisdiction; or (ii) setling the matter dawn for a traverse hearing to

determine whether service was proper and personal jurisdiction is had by the Court; and,

(ii) granting such other relief as the Court deems just and proper.

PLEASE TAKE FURTHER NOTICE that, pursuant to CPLR. § 2214¢b), if

this motion is served at least 21 days before the return date, any answering papers must

be served upon the attorneys for the defendant at least 7 days prior to the retum date.
Case 1:24-cv-04108-ALC

Dated: December 6, 2023

Ta:

Brooklyn, New York

Donna A. Campa

Selip & Stylianou, LLP
199 Crossways Park Drive
Woodbury, NY 11797
(516) 686-899)

Affarney(s) jor the Plaintiif

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22 ease

By: Matthew Schedler, Of Counsel
CAMBA Legal Services, Inc.
Elizabeth Miller, Esq., General Counsel
20 Snyder Avenue
Brooklyn, NY 11226
(718) 940-6311, ext. 79784
Aitorneys for the Defendart
Case 1:24-cv-04108-ALC Document 3-28 Filed 05/30/24 Page 3 of 104

CIVIL COURT OF THE CITY OF NEW YORE
COUNTY OF BRONX

- x
SYNCHRONY BANE,
Plaintiff,
INDEX NO. $5613
against DEFENDANT'S AFFIDAVIT
FRIEA WILSON,
Defendant.

= scl jsent bei sae eeseaee eae sree obec me ait
Erika Wilson, bemp duly swom, deposes and says:

1: l am the defendant, Erika Wilson, and I live at 3540 Decatur Ave., Apt. 1G,
Bronx, NY 10-447,

Z. I live at this address with my mother, Shemin Wilson, and with my infant child,
Rain.

a. I have lived with my mother, Shemin Wilson, at this residence for approximately
eleven years and lived with her at the alleged time of service on June 8", 2023.

4, Neither my mother nor myself were horne the afternoon of June §", 2023 to grant
anyone entry inta the building or our unit.

a | became aware of this action in the end of July 2025 alter receiving a notice from
the court in the mail, Upon learning about the case, | sought assistance from

CAMBA Legal Services who agreed to represent me in this action.
10,

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The process server describes service by substitute service on Chante Wilson, an
alleged co-resident. Chante Wilson is described as a black woman who is exactly
25 years old, between 3°'4 — 3°6 inches tall and between 131-160 pounds.

Service as described in the process server's affidavit is not possible. | do not
know a Chante Wilson and there no one in my family with this name, The process
server describes serving Chante Wilson on Thursday, June 8, 2023, at 3:16 P.M.
During that time, | was at the hospital with my daughter. My daughter was bam
on June 6", 2023. Due to health issues, she needed to be admitted to the neonatal
intensive care unit (“NWICU") at Mount Sinai West Hospital. I was at the hospital
with my dauphter until she was released on June 10", 2023,

During my daughter's time in the NICU, my mother, Shemin Wilson, would visit
me at the hospital from approximately 10:00A4.M. until visiting hours ended at
00 PLM. She visited me every day while my daughter was in the NICL, She was
with me in the hospital on the afternoon of alleged service,

T have also never had anyone in my apartment that matches the description in the
process server's affidavit and neither | nor my mother matches that des¢ription,
Parking near my residence at 3540 Decatur Ave. is very limited. There is only

stréet parking available and typically all these spots are taken.
Case 1:24-cv-04108-ALC Document 3-28 Filed 05/30/24 Page 5of 104

Il. To gain aceess to my until, sameone must buzz you in, and the arranging of the
apartments in the building is not intuitive, For example, | live in apartment 1G,
but it is not on the first floor. The apartments on the first floor are labeled starting
with an L for lobby. To get to my apartment, you must go up a flight of stairs and
locate my apartment.

12. [have not previously requested this relief.

WHEREFORE, | respectfully request that the Court grant any relief that it deems just,

equitable and proper.

Subscribed and Sworn Before Me
This 16" day of October 2023.

Notary Public

Matthew Schedler

Notary Public State of New York
Reg. No. 028C6197762

Expires 1/12/2025

Qualified Kings County
Case 1:24-cv-04108-ALC Document 3-28 Filed 05/30/24 Page 6 of 104

CIVIL COURT OF THE CITY OF NEW YORK

COUNTY OF BRONX
wc aa x
SYNCHRONY BANK,
Plaintiif,
INDEX NO. 5361/23
against AFFIDAVIT IN SUPPORT OF
DEFENDANT'S MOTION
ERIKA WILSON,
Defendant

Shemin Wilson, being duly sworn, deposes and says:

1. Tam Shemin Wilson, the defendant, Erika Wilson’s, moth
Decatur Ave., Apt 1G, Bronx, WY 10467,

Z. I live at this address with my daughter Erika Wilson, and v
grandchild, Rain.

A, Ihave lived with my daughter at this residence for approximately eleven years
and lived with her at time of the alleged service on June 8, 2023,

4. Neither my daughter nor myself were home on June 8, 2023 to grant anyone
entry into the building or out unit.

5. The process server describes service by substitute service on Chante Wilson, an
alleged co-resident. Chante Wilson is deseribed as a black woman who is exactly

24 years old, between 3°4 - 3°6 inches tall and between 131-160 pounds.
10.

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Service as deseribed in the process server's affidavit is not possible. 1 do not
know a Chante Wilson and there is no one in my family with this name. The
process server describes serving Chante Wilson on Thursday, June 6, 2023, at
3:16 P.M. Service as described in the affidavit is not possible. On June 6, 2023
iny grandchild, Rain, was born. Due to health issues she needed to be admitted to
the neonatal intensive care unit (“NICU”) at Mount Sinai West Hospital. She and
my daughter were at the haspital for a mumber of days including on June 4.
During that time, | would go to the hospital as soon as possible to be with my
daughter, always arriving by 10 A.M. I would stay with my daughter and
granddaughter all day, Only leaving when hospital visiting hours were over
around 9 P.ML

Because my granddaughter was in the NICU, neither my daughter, nor | were
home during the time of service and no one was in our apartment.

T have also never had anyone in my apartment that matches the description in the
process server's affidavit and neither | nor my dauphter matches that description,
Parking near my residence at 3540 Decatur Ave. is very limited. There is only
street parking available and typically all of these spots are taken. I have driven
arqund for over an hour looking for parking,

To gain access to my unit, someone must buzz you m, and the arranging of the
apartments in the building is not intuitive. Por example, | live in apartment 1G,
but it is net on the first Moor. The apartments on the frst floor are labeled starting

with an L for lobby. In order te get to my apartment you must go up.a Might of
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stairs and locate my apartment, This is a source of confusion and often results in
me getting delivery orders for the wrong person.

WHEREFORE, | respectfully request that the Court grant any relief that it deems

just, equitable and proper. a.
oI seth
ae es A CAL
Shemin Wilson
Subscribed and Swom Before Me
This 16" day of Qetober 2023.
Notary Public

Matthew Schedler

Notary Public State of New York
Reg. No. 025C6197762

Expires 1/12/2025

Qualified Kings County
Case 1:24-cv-04108-ALC Document 3-28 Filed 05/30/24 Page 9 of 104

CIVIL

COURT OF THE CITY OF NEW YORK

COUNTY OF BRONX

SYNCHRONY BANE,

Plaintiff,
INDEX NO. 5361/29
against AFFIRMATION IN SUPPORT

ERIKA WILSON,

Defendant.

Matihew Schedler, Esg., an attommey duly licensed to practice law in the state of New York,

hereby

perjury

affirms the following to be true pursuant to C.P.L.R. § 2106 and under the penalties of
states that:
lam asupervising attomey with CAMBA Lepal Services, Inc., attorneys for the Defendant,
Erika Wilson. As such, | am fully familiar with the facts and circumstances underlying this
proceeding, except as to those matters stated upon information and belief, and as to those
matters, | believe them to be true. The basis of my belief is information provided to ma by
my client and information contained within the court file.
The above-captioned action involves an alleged consumer credit transaction.
l submit this affirmation in support of Erika Wilson's (Ms. Wilson”) motion to dismiss
asking this Court to issue an Order: (i) dismissing the action pursuant to C.P.L.R §
3211 (a)(8) because the Court lacks personal jurisdiction.

PRELIMINARY STATEMENT
Ms. Wilson 18 moving to dismiss the action because service was improper. Service of
process was performed by Benjamin Lamb (“Mr. Lamb"), a process server with a long
history of improper service. Mr. Lamb's description of service is impossible and is part of

a pattern of improper servicer that spans multiple cases.
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5. In the affidavit of service, Mr. Lamb swears that he served Ms. Wilson on June &, 2023 at
her Bronx residence by substitute service on a “Chante Wilson.” Chante Wilson does not
exist. At the time of service both Ms. Wilson, and her mother — who also resides with her
= Were al the hospital as Ms. Wilson had given burth two days before and her child was
admitted to the neonatal Intensive care unit (“NICU As a result, no one was at the
Wilson's apartment at the time of alleged service.

6, This ts not the first instance of improper service by this process server. Mr. Lamb, has a
history of falsifying affidavits of service. Mr. Lamb was a key figure in Sptes v. Mel 5.
ferris etal, a class action involving an illegal debt collection scheme a part of which was
failing to properly serve process. Sykes vo ide! Harris and Associates, LLC. Spkex v Mel
Aorcs and Assocs., LOC, 757 F. Supp. 2d 413 (8.0.6, Y. 2010), In Spates it was discovered
that Mr. Lamb lied about the service he was supposed to perform and on a number of
occasions claimed to be serving multiple individual al the exact same time. Ayterv fel
Harris and Associates, LUC. Sykes v. Mel Harris and Assoes.. LEC, 285 F.R.D. 279
(S.D.NLY. 2012). .As part of his pattern of improper serviec, Mr. Lamb would almost
always allege that he had performed substitute service. A true copy of the affidavit of

Nicholas Echolson detailing Mr. Lamb's attempts at service ts atlached as Exhibit D.

7. Upon information and belief, Mr. Lamb elaims to serve by substitute service because it is
harder to venfy. [f Mr. Lamb claims person service, it can be checked against the actual
appearance of the defendant while affix and mail service can be checked against the
required GPS records. It is harder to check claims of substitute service, which does not

have the same easy and incontrovertible methods of authentication,
Case 1:24-cv-04108-ALC Document 3-28 Filed 05/30/24 Page 11 of 104

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To this day, Mr. Lamb still claims - in virtually every instance - to have performed
substitute service. In preparing for this motion, Ms. Wilson's attomey reviewed 38 cases
in which Mr. Lamb performed service. In every case reviewed, Mr. Lamb claimed
substitute service with many of the instances occurring at times that would be impossible

given the distance between the locations and the time it takes to properly serve process.

FACTS AND PROCEDURAL HISTORY

Synchrony Bank commenced this action on May 30, 2023, with the purchase of an index
number and ihe filing of a summons and complaint. A true copy of the summons and
complaint is attached as Exhibit A

In the affidavit of service, process server, Benjamin Lamb, (DCA License #2027471),
swears to substitute service on June §, 2023, af 3:16 PML, upon a person of suitable age
and discretion allegedly named “Chante Wilson," at 3540 Decatur Ave., Apt. 1G, Bronx,
WY 10467. A true copy of the affidavit of service is attached as Exhibit B.

Ms. Wilson has lived at 3540 Decatur Ave. Apt 13G, Bronx, N'Y 10467 for the last eleven
years. Affidavit of Erika Wilson. Ms. Wilson dives with her mother, Shemin Wilson, and

her infant child, Rain, Af; Affidavit of Shemin Wilson.

. The affidavit of service describes “Chante Wilson,” as an alleged co-resident, who is a

black woman, exactly 25 years old, between 5°4—- 5°6 inches tall, and between 131-160
pounds. Exhibit B.

Neither Shemin Wilson nor Erika Wilson know a “Chante Wilson” and there is no one in
their family with this name. Affidavit af Erika Wilson; Affidavit of Shemin Wilson.
Nether Shemin Wilson nor Erika Wilson know of anyone fitting Chante Wilson’s

description and no one with that description was ever in their apartment. Jel.
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Al the time of the alleged service, Jume 8, 2023, at 3:16 P.M., Shemin Wilson and Erika
Wilson were both at Mount Sinai West Hospital. Ja. Ms, Wilson had given birth two days
before and Ms. Wilson's newborn daughter had to be admitted to the NICU at Mount Sinai
West Hospital. Shemin Wilson visited her daughter and granddaughter in the NICU from
approximately 10:004.M. until visiting hours ended at 9:00P.M. every day between June
6, 2023 and June 10, 2023. fe.

Ms. Wilson stayed al Mount Sinai West Hospital continvously between June 6, 2023 and
June 10, 2023 while her daughter was in the NICU. She returned home with her newborn
on June 10,2023 unaware that she was.ever served. Aside from her mother, who wes with
her in the NICU at the time of alleped service, no one had access to her apartment. Ja.

Ms. Wilson became aware of the lawsuit in late July when she received a notice from the
court im the mail. Erika Wilson Affidavit,

In August 2023, Ms. Wilson obtained the representation of CAMBA Legal Services, Ine.
and filed an Answer to the Complaint on September 18, 2023. A true copy of Ms. Wilson's
Answer is attached as Exhibit C_ Ms. Wilson's answer includes an affirmative defense of
lack of personal jurisdiction. fal,

Ms, Wilson now makes this motion to dismiss based on the lack of personal jurisdiction.

BENJAMIN LAMB'S HISTORY OF IMPROPER SERVICE

. Benjamin Lamb, has a long histary of purposely failing to properly execute service of

process and the improper service in this case is not an isolated incident.
Mir. Lamb's history of improper service is highlighted in Sytes + Avel Harris and
Associates, LLC. Spkes v. Adel Harris and Assocs, LEC, 285 F.B.D, 279 (8.D.N.Y, 2012).

Svkey was a class action involving illegal debt collection scheme an important of which
Case 1:24-cv-04108-ALC Document 3-28 Filed 05/30/24 Page 13 of 104

21,

Was PROCESS Servers engaging “sewer service” - purposely failing to deliver process - to
obtain easy default judgments against individuals who were unaware of the lawsuits
lawsuit against them. Ja Mir. Lamb, and other process servers, would knowingly fail to
complete service and falsify affidavits of service to advance this scheme. For example, the
District Court noted that, “[o]n $17 occasions, defendants, Mosquera, Lamb, and Andino,
alone, claimed to [sic] have performed service in two or more places at the same time.”
feat 284.

Asa part of the Sytes litigation, Nicholas Egleson, an IT consultant and atvalyst, completed
a comprehensive analysis of over 16,000 of Benjamin Lamb's affidavits of service. Exhibit
D. Egelson analyzed all service of process performed by the service apency involved in the
Spkes litigation from January 2007 through January 2011. Exhibit D at 1-2. Egelson found
that Benjamin Lamb alleped substitute service in almost every instance, at least 15,000
times, which represented 91.21% of his service attempts. Exhibit D ai 23. In comparison,
Lamb allegedly only completed personal service 5.31% of the time and only completed

nail and mail service and astounding .03%% of the time. Exhibit D at 25.

22, By alleging substitute service in almost all cases, Mr. Lamb is able better skirt the niles of

service and avoid having his improper service detected, This would not be the case if he
alleged personal service as the description of the person server could be verified by the
appearance of the defendant. Along the same lines, if Mr. Lamb alleged affix and mail
service he would have to make the required GPS recordings, which could easily be verified.
By alleging substitute service, Mr. Lamb is able to avoid these detection methods and

continue his scheme.
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The evidence of Mr. Lamb's improper service is not just limited to the type of service her
was performing, Egleson also found that Benjamin Lamb outright lied, and claimed to be
Serving process in two separate locations at the exact same time on sixty six occasions.
Exhibit D at 3.

The pattern of improper service highlighted in Shes is also present in this case and in Mr,
Lamb’s recent attempts of service. To gather more information on Mr. Lamb's recent
service activity, CAMBA Legal Services pulled thirty-nine affidavits of service from the
index numbers surrounding the index number for this action. True copies of these affidavits
of service are attached as Exhibit E. Every affidavit of service reviewed by CAMBA is
attached to this motion, none has been excluded. As stated above, these affidavits reveal
that Mr. Lamb claimed substitute service in all thirty-nine instances with many of those
allempls describing service that are not possible.

On June 8, 2023, the date of alleged service in this case, for example, Mr. Lamb allegedly
completed a substitute service at 640 Adee Ave., Bronx, NY at 2:40 PM. Exhibit E at p. 7.
Then. nine minutes later, Mr. Lamb claims to have completed substitute service at 2304
Matthews Ave., Bronx, NY 104764. Exhibit E at p. 8. According to Googhe Maps_ the
driving distance between these two locations is least six minutes via car, A true copy of a
google maps printout between these locations is attached Exhibit F.

To complete service, Mr. Lamb would have had to find parking; park his car; walk to the
building: gain aceess to the building: find the appropriate unit; travel ta the unit vie stair or
elevator, knock on the door, wait fora response; hand over papers to an alleged co-resident;
ask the person their name and relationship to the defendant; ask if the defendant was in the

military; wait for them to answer: po back down the stairs or elevator; walk out the
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ai.

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24,

building; make a GPS recording of his location, walk back to his car; fill out description
of the person and the information conceming service in his logbook; and then repeat that
entire process al the next residence. That Mr. Lamb was able to do all of this at two
locations that are 6 minutes apart in 9 minutes total is nat possible, but we see this pattern
repeated throughout his attempts at service,

The same thing happened on June 17, 20273. On this day, Mr. Lamb allegedly served two
individuals via substitute service in 10 minutes. Exhibit E. At 3:54 P.M. Mr. Lamb
allegedly served an individual by substitute service at 4356 Grace Avenue, Bronx. NY
10466. Exhibit E at p. 35. Then, 10 minutes later, Mr. Lamb again performed substitute
service at 4:04 P.M. al 3916 Harper Avenue Apt 9 Bronx, NY 10455. Exhibit E at p. 36.
In both instances Mr. Lamb swears that he had a conversation with the person served and
asked if the defendant was in the military. Service as detailed in the affidavit is still not
possible.

4356 Grace Avenue is a 6 minute drive or 28 minute walk from 3916 Harper Avenue. A
true copy ofa google map printout of the distance between these addresses is attached as
Exhibit G, This means that in 10 minutes Mr. Lamb was able to locate the address; turn
on his car; drive to the location; find parking; park his car, gather his things; walk to the
building; gain access to the building: find the appropriate unit; knock; wait for a response;
talk to the person served; make a GPS recording: write down the description of the person
served; leave the building; then return to his car; and do it all over at the next address.
Exhibit G. This is simply not possible,

In addition to the impossible deseriptions of service, the thirty-nine affidavits pulled on

Ms. Wilson's behalf show that Mr. Lamb never completed personal service on a defendant
Case 1:24-cv-04108-ALC Document 3-28 Filed 05/30/24 Page 16 of 104

30.

al.

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and never completed nail and mail service, Exhibit G. In other words, Mr. Lamb knocked

on the door of thirty-nine different homes. In none of those instance was no one home and

in none of those instances was the defendant he was try to serve home. Instead, in each of

the thirty-nine cases, a 3@ party answered the door, had a conversation about the defendants

military service and then accepted service. The pattern does nol survive scrutiny,
ARGUMENT

Sychrony’s Action Should Be Dismissed Because Ms. Wilsem Was Not Served

The Court.does not have personal jurisdiction over Ms. Wilson because Synchrony did not
properly serve the Summons and Complaint. Proper service under C.P.L.R. § 308(2)
requires that the process server deliver notice to a person of suitable age at the actual place
of dwelling or usual place of abode of the defendant and then mail a copy to the defendant's
last known residence. C.P.L.R, 4 308(2), Here, the requirement is not satisfied, the person
described in the affidavit of service does not exist and service is not possible because
everyone who lives in the apartment was at the hosprtal with Ms, Wilson's newborn,
Serviec of process is necessary for a court to exercise personal jurisdiction over a
defendant. Macchia v. Russo, 67 NY 2d 592, 595 (1986). Proper service of process is a
constitutional requirement meant to ensure due process. Pefnsiein v. Bergener, 48 WY 2d
234, 241 (1979).

Service must be reasonably calculated under the circumstances to give interested partics
notice of the suit with adequate time to prepare their defense. Mallane v. Cent. Hanover
Bank c& Tr, Ca, 339 U8. 306, 314 (1950). The New York Court of Appeals mandates
strict compliance wilh the statutory requirements for service of process to ensure this

constitutional mandate is net. Macchia, 67 NY 2d at 395.
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Unchallenged, a process server's affidavit of service is typically sufficient to support a
finding that service was proper. Bankers Tr. Co. af California v. Tsaukas, 303 AD2d 45,
343-344 (2d Dep't 2003), However, when there are issues of fact about whether service
was properly performed a traverse hearing must be scheduled. Trovate v. Galaxy Sanitation
Servs. of New York, tne, 17) AD Sd 830, 832 (2d Dep't 2019); Alliant y, Burler, § NY 3d
972, 972-73 (2007); Steiner v. Steiner, 81 A.D.2d 725, 725 (2d Dep't 1981).

Conversely, when no issues of fact exist conceming improper services, the court may
dismiss the action without a traverse hearing. Mendez v. Retiigen, 209 AD3d 637, 640
{2d Dep't 2022); Capital Equity Med, LLC v. Dema, 78 Misc.3d 129(A) at *1 (App Term
2025),

When the defendant submits unrebutted documentary proof that the person served would
not have been in their residence, no traverse hearing is necessary to dismiss the action.
Mendez, 209 A.D.3d at 640; Capital Equity Met, LLC, 78 Mise.3d 12974) at *1.

Ms. Wilson has resided at the same residence, 3540 Decatur Ave., for the last eleven years.
Enka Wilson Affidavit. The affidavit of service states that he performed substitute service
on June §, 2023, on a“Chante Wilson”. Exhibit B. While this address is where Ms. Wilson
lives, neither she nor her mother know of anyone named Chante Wilson and no one by that
name or matching the description has ever been in the apartment. Erika Wilson Affidavit:
Shenun Wilson Affidavit; Exhibit B.

On June 8, 2023, Ms. Wilson and her mother were at Mount Sinai West Hospital with Ms.
Wilson's daughter in the NICU. Jd@..As no one was present in their residence and neither
Ms. Wilson nor her mother has ever heard of Chante Wilson, proper service was not

completed. fa.
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38. By denying proper receipt of service and providing probative facts, sworn testimony, and
documentary evidence that substitute service was not properly performed, Ms. Wilson has
effectively disputed service, The Court should dismiss the case. Alternatively, the Court
should set the matter down for a traverse hearing to determine whether service was proper

and whether the Court has personal jurisdiction.

WHEREFORE, we respectfully request, on behalf of Defendant Ms. Wilson, that this
Court issue an Order: (i) dismissing the action pursuant to C.P_L.R. § 3211 (a8) because the Court
lacks jurisdiction over the person of the defendant; or (ii) ordering a traverse hearing to determine
whether service was proper and personal jurisdiction is had by the court; and, (iii) granting such

other relief as the Court deems just and proper.

Dated: December 6, 2023
Brooklyn, New York

By: Matthew Schedler, OF Counsel
CAMBA Legal Services, Inc.
Elizabeth Miller, Esq., General Counsel
20 Snyder Avenuc
Brooklyn, N¥ 11226
(718) 940-6311, ext.79284
Attorneys for the Defendant

To: Donne A. Ciampa
Selip & Stylianou, LLP
199 Crossways Park Drive
Woodbury, NY L179?
(516) 686-8991
Aiterney(s) for the Plaintiff
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KXHIBIT A
Case 1:24-cv-04108-ALC Document 3-28 Filed 05/30/24 Page 20 of 104

ORIGINAL

IMPORTANT! YOU ARE BEING SUED! THIS IS A COURT PAPER-A
SUMMONS DON'T THROW IT AWAY!! TALK TO A LAWYER RIGHT AWAY!
PART OF YOUR PAY CAN BE TAKEN FROM YOU (GARNISHED). IF YOU DO
NOT BRING THIS TO COURT, OR SEE A LAWYER, YOUR PROPERTY CAN BE
TAKEN AND YOUR CREDIT RATING CAN BE HURT!! YOU MAY HAVE TO
PAY OTHER COSTS TOO! IF YOU CAN'T PAY FOR YOUR OWN LAWYER
BRING THESE PAPERS TO THIS COURT RIGHT AWAY, THE CLERK
(PERSONAL APPEARANCE) WILL HELP YOU! THIS COMMUNICATION IS
FROM A DEBT COLLECTOR AND IS AN ATTEMFT TO COLLECT A DEBT,
ANY INFORMATION OBTAINED WILL BE USED FOR THAT PURPOSE.

——

CIVIL COURT OF THE CITY OF NEW YORK
COUNTY OF BRONX

- é INDEX NUMBER: (53
SYNCHRONY BANE S&S FILE NO, GI756067 cal
PLAINTIFF,
-AGAINST- SUMMONS
ERIKA N WILSON Plaintiff's address: 170 ELECTION RD SUITE 125,
DEFENDANT, DRAPER, UT s4020

The Hasis of the Venue Designated is Defeodants
Residence
TO THE ABOVE NAMED DEFENDANTS}: YOU ARE HEREBY SUMMONED to appear in
the CIVIL COURT OF THE CITY OF NEW YORK, COUNTY OF BRONX at the office of the
clerk of the said Court at 851 GRAND CONCOURSE, BRONX, NY 10451, in the City and State
of New York, withia the tune provided by law as noted below and to file your answer to the annexed

complaint with the clerk: upon your failure to answer, judgment will be taken against you
sum of $6,743.15 with costs and disbursements of this action. PEE PAID

Dated: May 03, 2023 MAY 3.0 7073

Selip & Stylianou, LLP, Attomeys for Plaintiff
P.O, Box 9004, 199 Crossways Park Dr, Woodbury, MY LP797-9004 /
(316) 364-6006 ext. 8991; (866) 848-8975 ext. 2991; TIY/TRE: (516) 422-8500 CIVIL COURT

Refer to $5 File No. O1756067 BRONX COUNTY

Note: the law provides that (a) if this summons is served by its delivery to you personally within the
City of New York, you must appear and answer within twency days after such service; or (b) if this
summons is served by delivery to any person other than you personally, or is served outside the City
of New York, or by publication, or by any means other than personal delivery to you within the City
of New York, you are allowed thirty days after the proof of service thereof is filed with the clerk of

this Court within which to appear and answer.

Defendant to be served:
ERICA W WILSON, 3540 DECATUR AVE APT 1G, BRONX, NY 10467

By:

{MOY EON A SES scan en Pere
MANGAS NG A
tf

Case 1:24-cv-04108-ALC Document 3-28 Filed 05/30/24 Page 21 of 104

TRANSACCION DE CREDITO DEL CONSUMI
IMPORTANTE! UD.HA SIDO DEMANDADO! ESTE ES UN FOCUS
LEGAL - UNA CITACION NO LA BOTE! CONSULTE CON SU ABOGADO
ENSEGUIDA! LE PUEDEN QUITAR PARTE DE SU SALARIO (EMBARGARLO).
SI UD. NO SE PRESENTA EN LA CORTE CON ESTA CITACION LE PUEDEN
CONFISCAR SUS BIENES, (PROPIEDAD) ¥ PERJUDICAR SU CREDITO!
TAMBIEN ES POSIBLE QUE TENGA QUE PAGAR OTROS GASTOS LEGALES
(COSTOS ADDICIONALES)! SI UD. NO TIENE DINERO PARA UN ABOGADO
TRAIGA ESTOS PAPELES A LA CORTE INMEDIATAMENTE, VENGA EN
PERSONA Y¥ EL SECRETARIO DE LA CORTE LE AYUDARA. ESTA
COMUNICACION ES DE UN COBRADOR DE DEUDAS Y ES UN INTENTO DE
COBRAR UNA DEUDA. oe INFORMACION OBTENIDA SERA
UTILIZADA PARA ESE PROPOSITO.

CORTE CIVIL DE LA CIDUDAD DE NUEVA YORK.

CONDADO DE BRONX
Roonaan ne ee mene -— INDEX NUMBER:
SYNCHRONY BANE $45 FILE NO. G1756067
DEMANDANTE,
-VE.- CITACION
ERIFLA MN WILSON La direction del demandante: 170 ELECTION RD
DEMANDADO. SUITE 125, DRAPER, UT &4029

La Regon de Haber Designade esta Corie es fa

Residencia dal Demondada
AL DEMANDADO ARRIBA MENCIONADO; USTED ESTA CITADO A COMPARECER EN
LA CORTE CIVIL DE LA CIUDAD DE NUEVA YORK, CONDADO DE BRONX a la oficixa
del jefe principal de dicha Corte en #51 GRAND CONCOURSE, BRONK, NY 10451 en el
Condado de BRONX, Ciudad y Estado de Nueva York, dentro de! tiempo proviste por la ley segun
abajo indicado y a presentar su respuesta a la demanda anexada al jefe de la Corte; si usted no
COmparece a combestar se dictara sentencia Contra usted en la suma de $6,743.15 incluyenda los

costes de esta accion.

Fechade: May 03, 2023

Selip & Stylianouw, LLP, Attorneys for Plantif, Abogados del Demandante

P.O”. Box S004, 199 Crossways Park Dr, Woodbury, N¥ 11797-9004

(516) 364-6006 ext. 8991; (806) 848-8975 ext. B991; TTY /TRS: (516) 422-8500

Refer to 5&5 File No. G1756067

Nota: la Jey provee que: (a) 1 esta citacion ¢s eniregada a usted personalmente en la Ciudad de
Nueva York, usted debe comparecer y responderla dentro de veinte dias desques de ba entrega; o fb)
gi cata citacion ¢5 énitrepada a otra persona que no fuera usted personalmente o si fuera entregada
afiera de la Ciudad de Nueva York, o por medio de publicacion, o por otras medios que no fleran
entrtga personal a usted en fa Ciudad de Nueva York, waited tiene treinta dias para comparccer y
responder Js demands, despues de haberse presentado prueba de entrege de la citacion al jefe de esta

(Corte.

Demandado citado:
ERIKA NW WILSON, 3440 DECATUR AVE APT 1G, BRONX, NY 10467
Case 1:24-cv-04108-ALC Document 3-28 Filed 05/30/24 Page 22 of 104

CIVIL COURT OF THE CITY OF NEW YORK
COUNTY OF BRONX

Ee a a —e =a

SYNCHRONY BANE

PLAINTIFF, INDEX NUMBER:
-AGAINST- 529 FILE NO. 01 Tso087
ERIKA N WILSON COMPLAINT
DEFENDANT.

Plaintiff, by its attorneys, complaining of the Defendant(s), respectfully alleges that:

1. Plaimtitfis @ savings bank organized pursuant to federal law. Plaintiff is a direct eredivor and nota
debt purchaser. and as such is not required tg be licensed by the NYC DWCP.

2. Upon infocmation and belief, the Defendant(s) resides or has an office in the venue in which this
action is brought, or the Defendant(s) transacted business within the venue in which tig aechon ig broughi,
either in perega or through an agent, and the instant cause of action arose out of said tranzaction.

3. Based upon a reasonable Jaquiry, the Statute of Liraiteaciors for the causes of action asserted
herein has not expired,

FACTS

# A CareCredit-branded revalving credit account (hereafter the "Aeeount'} was opened in
Defendant's name, subject to the tenms and conditions provided, or made available in electronic format, to the
Defendant (the "Agreement™). A copy of the charge-off satement is attached Isereto. Plaintiff is the orlzinal
ereditor (es defined in N'Y CPLR § 105fq-1)) and owner of the Account.

3. Defendant used the Account and incurred a balance. The last four digits of the Account momber
on the most receat monthly statement recording a purchnse transaction, last payment, or balance transfer (the
“Last Activity Statement") are 6252, and the balance owed as set forth in the Lost Activity Statement was
$5,774,765.

6. Defendant breached the terms ef the Agreement by failing to make the agreed-upon payments
when die,

7. Deotaod for payment of the Account wos made on Defendant, but Defendant failed to make all
the required payments. The Defendant's last payment was made oa or about April 19, 2071 in the amount of
B72 1.00,

8 Asa result of Defendant's default, the Plaintiff closed the Account and subsequently changed it off
Of Movember (5, 2021 in the amount of £6,743. 15, ag reflected [in the amached statement.

9. The balance currently duc and owing is $6,743.15, itemized as follows:
Case 1:24-cv-04108-ALC Document 3-28 Filed 05/30/24 Page 23 of 104

Balance due at time of charge-off: $6,743.15
Plus total amount of interest acerwed since charge-off: $0.00
Plus total amount of non-interest charges or fees since charge-ofl: $0.00
Plus total amount of dishonored payments: $0.00
Less total amount of payments and/or credits since charge-off: £0.00

AS AND FOR A PLRST CAUSE OF ACTION
10. Plaintiff repeats and realleges cach and every allegation contained in the foregoing paragraphs as

if mare fully set for hereda.
1, Asa result of Defendant's breach of the Agreement, and after crediting Defendant for all
paytcats and credits, there is now doe and owing by Defendant to Plainclff the sum of $6,743.15, mo part af

which has been paid despite due demand therefor.

WHEREFORE, Flaintiff demands jadpment against Defendant(s) in the amount of $6,743.15 together with

core and disbursements.
The undersigned attomey hereby certifies that, to the best of histher knowledge, information, and belief,

formed efter an Inquiry ressonable under the circumstances, the presentation of the within complaint and the
contentions thereln are not frivelows a8 defined in pact 130-1 .1¢c) of the rules of the Chief Administrator.

Dated: MAY 03, 2025

DONNA TIAMPA ESQ,

Selip & Stylianou, LLP, Attomeys for Plamnff

199 Crossways Park Drive, Woodbury, N¥ 11797-9004
(516) 686-6991; (866) 848-8975 ext. F991;

5&5 File No. G7TS0067
Case 1:24-cv-04108-ALC Document 3-28 Filed 05/30/24 Page 24 of 104

CARECREDITIYHY Wty BANK nie
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Summary of Acecund Acthl be Paymernd [nformaiion

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Case 1:24-cv-04108-ALC Document 3-28 Filed 05/30/24 Page 25 of 104

EXHIBIT B
VSCEP DOC. He One 7m.24-CV-O4100-ALC

CIVIL COURT OF THE STATE 0, «EW YORK COUNTY
OF BRONX

ARTY du

eon o4%

AFFIDAVIT OF SERVICE
Index no : C¥=0536123/BX
Date Index Number Purchased: (5/30/2023
Plaintiffs): SYNCHRONY RANK
VEL
Defendant(s: ERIKA N WILSON
STATE OF NEW YORE

COUNTY OF WESTCHESTER Be.

BENJAMIN LANG, the undersigned, being duly sworm, depoves and says:
Tam over the age of 18 years and not a party to the action, J reside in the state of New York.

On (08/2025 at 3:16 PM, | served the within SUMMONS AND COMPLAINT with the index#CV-05361-23RX
endorsed thereon on ERIKA N WILSON at 3540 DECATUR AVE APT 1G , BRON, NY 10467 in the manner

indicated below!

SUITABLE AGE; by delivering thereat 1 tue copy of each to Chante Wilson, Co-Resident of ERIKA N WILSON,
4 person of suitable age and discretion, Snid premises is ERIKA N WILSON'S usual place of abode within the stale,

On 06/16/2023, deponent enclosed a of sama in a first class postpaid envelope bearing the words "F ick
Confidential" cy addressed to defendant and defendant's lest ch residence, 33540 DECATUR AVE APT
1G , BRONX, NY 10467 and deposlied said envelope in an official depository under the exclusive care and cuetody of
the U.S. Postal Service within New York State, The envelope did not indicate on the outside thereof, by return address

or otherwise, that he communication was from an altomey or concermed an action against the defendant,

A description of the Recipient, or other person served on behalf of the Recipient is as follows:

Sex Color of skin Colorefhair [Age | Height Weight
Female Black Black a5 Sit din - Sit Gin 131-160
Other Features:

loaked the parscn spoken to whether he/she Defendant was in the ective military service of the United Sites or of the
Stale of New York in my capacity whatever and received 1 negative reply. The source of my information and belief are
the conversations above narrated, Upon Information and belief I aver that the recipient is not in the military service of
New York State or of the United States as that term is defined in cither the State or in the Federal statute.

ADDITIONAL MAILING PURSUANT TO 3215

IN COMPLIANCE WITH CPLE 3215, on 06/16/2023 DEPONENT GAVE ADDITIONAL NOTICE OF THIS
ACTION BY ENCLOSING 4 COPY OF THE 54D SUMMIONS IN A FIRST CLASS POSTPAID
ENVELOPE ADDRESSED TO DEFENDANT AT DEFENDANT'S PLACE OF RESIDENCE AT 3440
DECATUR AVE APT 1G, BRONX, NY [0467 AND DEPOSITING SAID ENVELOPE IN AN OFFICIAL.
DEPOSITORY UNDER THE EXCLUSIVE CARE AND CUSTODY OF THE UNITED STATES POST
OFFICE. THE ENVELOPE BORE THE LEGEND “PERSONAL AND CONFIDENTIAL" AND DID NOT
INDICATE ON THE OUTSIDE THEREOF THAT THE COMMUNICATION WAS FROM AN ATTORNEY

OR CONCERNS AN ALLEGED DERT, ie
a

Swot 00 and subscribed before me on 05/16/2023 x

Document 3-28 Filed 05/30/24 Page 2608-404 pe rorraos

bs
Melissa A. Cyran

Notary Public, State Of New York
No. O1CYH228619

Qualified in WESTCHESTER
Commission Expires 27/26

Licensef: 1071492

J and E Process Service, Ine
901 North Broadway Ste 18
Ni. While Plains, NY (0603
Ol4-328-] 069

DCA License#: 2027471
Branch: Whiio Plains

Atty Filed: G1756067
Case 1:24-cv-04108-ALC Document 3-28 Filed 05/30/24 Page 27 of 104

EXHIBIT C
Case 1:24-cv-04108-ALC Document 3-28 Filed 05/30/24 Page 28 of 104

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CIVIL COURT OF THE CITY OF NEW YORK

COUNTY OF BRONX
wrenmsss--—------- ee OY
SYNCHRONY BANE Index No.: 5361/29
Plaintiff,
“eee : ANSWER
ERIKA WILSON,
Defendant(s).
x

am rere

PLEASE TAKE NOTICE that Defendant Erika Wilson, by her attorney, Matthew

Schedler, Esq,, Of Counsel to Elizabeth Miller, Esq., CAMBA Legal Services Inc., hereby

inferpose the following Verified Answer to the Complaint:

1.

Defendant lacks sufficient information to either admit or deny the allegations in
paragraphs 1, 2, and 3 of the Complaint.

Defendant denies the allegations in paragraph 4 of the Complaint.

Defendant dentes the allegations in paragraph 5 of the Complaint.

Defendant denies the allegations in paragraph 6 of the Complaint.

Defendant denies the allegations in paragraph 7 of the Complaint.

Defendant denies the allegations in paragraph 8 of the Complaint,

Delendant denies the allegations in paragraph 9 of the Complaint. Fy / c
Defendant denies the allegations in paragraph 10 of the Complaint. os D
Defendant denies the allegations in paragraph |] of the Complaint. x e fg £23
Bron! neunp
SATs

DEFENSES.
Case 1:24-cv-04108-ALC Document 3-28 Filed 05/30/24 Page 29 of 104

First Affirmative Defense
10, The Court lacks personal jurisdiction over defendant because she was not properly served

in accordance with C.P_L.R. § 308,

Second Affirmative Defense

Il. The plaintiff lacks standing to bring this action.

Third Affirmative Defense

12. The defendant does not owe the debt,

Tourth Affirmative Defense

13. The defendant disputes the amount of the debt.

fifth Affirmative Defense

14, The defendant is entitled to an offset against the amounts claimed because of plaintiff's

failure to mitigate its damages.

Sixth Affirmative Defense

15. The statute of limitations has expired

Prayer for Relief

WHEREFORE, Defendant respectfully asks that the Court:

A. Dismiss the Complaint in its entirety;
G. Award defendant's reasonable costs and attorney fees; and

(. Award such other and further relief as the Court deems just and proper.
Case 1:24-cv-04108-ALC Document 3-28 Filed 05/30/24 Page 30 of 104

Dated: August 21, 2023
Brooklyn, New York Oo ~~
By: Matthew Schedler, Esq., OF Counsel
CAMBA Legal Services, Inc.
Elizabeth Miller, Esq., General Counsel
20 snyder Avenue
Brooklyn, NY 11226
(718) 940-6311, ext. 79222
(347) 525-5072
matthewsc(@cambe.org
Atiorneys for the Defendant

Case 1:24-cv-04108-ALC Document 3-28 Filed 05/30/24 Page 31 of 104

VE ON

StateofNew York  }
} 5s.
County of Rings }

The undersigned, an Attomey duly admitted to practice law in the State of New York, affirms
pursuant to N'Y CPLR 3020 (d) (3) the following statements to be trie under the penalties of
perjury: That I am the Attorney of record for Defendant: That I have read and knew the contents of
the foregoing Answer, That same is true to the knowledge of the affirmant except as to those
matters therein stated to be alleged upon infonmalion and belief and as to those matters I believe to
be true. The reason this verification is made by the afTirmant and not the Defendant is because the
Defendant docs not reside in the county where | maintain an office for the practice of law,

By: Matthew Schedler, Esq., OF Counsel
Elizabeth Miller, Bsq., Executive Daector
CAMBA Legal Services, Inc.

Altomeys for Defendant

#05 Flatbush Ave. 2” FI.

Broolelyn, WY 11226

(718) PMLG3T1

Adorneys for the Dejendant

Dated: August 21, 2023
Brooklyn, New York
Case 1:24-cv-04108-ALC Document 3-28 Filed 05/30/24 Page 32 of 104

CIVIL COURT OF THE CITY OF NEW YORK
COUNTY OF BRONX

Civil Court of the City of New York, County of Bronx,
Index No.: 5361/23

SYNCHRONY BANK
Plaintifi,
<against-
ERIKA WILSON
Defendant(s).
ANSWER

Signature (Rule 130-1.1-8

reg a tr Te,
poe

ani
PritPiame beech

Matthew Schedler, OF Counsel

Aifarney jor
CAMBA LEGAL SERVICES, INC.
Elizabeth Miller, Esq., General Counsel
Gice and Post Oifice Adares, Telephone
20 Seyder Avenue
Brooklyn, New York 11226
FUB-940-63 f | cot. 7222

To: Selip and Stylianou, LLP
199 Crossways Park Drive
Woodbury, N¥ 11797
Attomney(s) for Plaintiff

service of a copy of the within is hereby admitted.
Dated,

Ationey{s) for

Case 1:24-cv-04108-ALC Document 3-28 Filed 05/30/24 Page 33 of 104

EXHIBIT D
Case 1:24-cv-04108-ALC Document 3-28 Filed 05/30/24 Page 34 of 104

Case 13-2742, Document LOT ALSO, 1053370, Pages? of &?
‘AA-160 A

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

MONIQUE SY KES, REA VEERABADREN,
KELVIN PEREZ, and CLIFTON
ARMOOGAM, individually and on behalf of
all others similarly situates,

LCF Casé
Plaintulfs, Mo. 09Civ, BoC)
~ apainal -
MEL §, ITARRIS AND ASSOCIATES LLC; DECLARATION OF
MEL 3, HARRIE: MICHAEL YOUNG, NICHOLAS
DAVID WALDMAN, KERRY LUTZ: TODD EGLESON

FABACHER, MEL HARRIS JOHNAANE
NOES 1-20; LEUCADLA NATIONAL
CORPORATION; L-CMEDTT, LLC. LE
CREDIT, LLC: LR CREDIT 10, LLC: LR
CREDIT 14, LLC; LR CREDIT 18, LLC: LE
CREDIT 21, LUC; IOSEPH A. ORLANDO:
PHILIP M, CANNELLA: LR CREDIT
JOHNUANE DOES 1-20: SAMSERV, INC;
WILLLAM MLOTOR; BENJAMIN LAMB:
MICHAEL MOSOUEKA; JOHN AN DING,
and SAMSERY JOHNAANE DOES 1-20,

Tefiralits,

NICHOLAS HGLESON declares under the penalty oll perjury, pursaant to BELLS ICE
1746, that the following is tre and cogreet:
. [am the founder ond president of Paladin Consulting and Programming, whieh privides
I consulting services to New York area health care, social service, and non-profit
agencies, and commercial clients, Paulenit this affidavit in ficvher support of Plaintifls"
Motion for Ches Certification
2 On July 27, 2011, | began enalyeing a Microsoft Access dotehase entitled “Process

Service Management System," whieh had been prodveed earlier (hat day. 1 uederstand
Case 1:24-cv-04108-ALC Document 3-28 Filed 05/30/24 Page 35 of 104

Gase 13-7742, Document 107-1 POLS, 1099370, Pagess of 57
‘ Aa-t61

that this database is a record of all service of process performed by Samsery for Mel
Harris end Associates, LLC, from Jomanry 20007 though Jomairy 2011.

3. Because | reocived the entire set of date on Joly 27, 2011, my analysis at this poim is
necessarily pon-compeehensive, | believe there may be more dota indicative of
consistent, easly nec)ertiinable trends thet | have not yer been oble to review,

4. The dotebase contains 125,898 recondé of service, incliding 94,123 records of cases filed
by Mel Hanis iu the New York City Civil Count. OF these records, 59,959 comcem
service of a cumuons and complaint in cases filed by Mel Hanns on behalf the
Leucadia Detemdnus in New York City Civil Court.

3. For each recon of service, the database contains a number of fichds, inching the name
of the process server, his or ber employee ID number, the date the process server wes
assigned to serve process, the method of servies, the date ond time of service, and, if
applicahie, the neme and a deseripion of the person served. ‘The database alse contains
payment information [or process servers,

6, For method of service, the database specifics the fallowwing methods of service: personel
service, nil and mail, substitute service, corporate service, and severn) types of
unsuceess(ul service.” [14 this affidavet | use the term “rompeleted service" to meant
instances in which.» process server visited an wddrest anil effected service. “Attempied
service” means instances in which a process server visited an address but did nog effec

hervice, “Visite” menos all instimees in whith o process server Went to a address,

4 ucoessful service” Includes the following citepories: nonservice, bad address, moved, mew
address, oot known at address, PAO. Box, no apartment nuober, decemed, misccllancous,
jurisdiction ard “retd-per atty-not serv."
Case 1:24-cv-04108-ALC Document 3-28 Filed 05/30/24 Page 36 of 104

Case 13-2742, Cocument 107-2 580135, 1093370, Pages4 of 57
A162. me

whether or nod service was effected. In otver words, “visie” cquels aerpted plus
complened seraces.

Six individual process servers (Asainat Abulelrahman, John Andino, Beoparnin Lamb,
Michsel Mosquer, Angelo Rivera and James Stevens) aconuited for JO of all service
potionned hy Samesery for Mel Horris in Mew York City between Janaury 2007 areal
January 2011. Together, these individuals reported 743146 services.

J was able to isolate several sulrects of data by numning queries in Microaoll Access, is

well as by exporting the dois into Microsoft SOL Server and Microsoft Excel

Trepossite and Highly Improbable Reports of Service

o

The daa shows multiple instances of the same process server recording two or more
services al different addresses at the same hour and minute —2 physical imposs|biliry.
Twerty-tires out of 23 servers. who reponed serving in Kew York City logped
sinmlianects visits ai different midresses, Attached as Exhibit A iso tble disslaying the
number of times each process server reperted simultaneously hemp in at least ten

different facwions in Mew York City at the same lime.

. For example, Oefendom Mosquera chimed to be at four different locations on September

17, 2008 at] pom, Defendant Lamb claimed to be in two different locations on
November 28, 2007 af 6:59 pom., and Defendant Andine elenned to be in nine different
Iecations cn March 29, 2007 at 4 pam.

Overall, the data shows that Defendant Aundine claimed to he in two ar more places at the
suine time on 327 occasions, Defendant Mosquern on 124 ocensions, ine! Defendant

Lamb on &) ocensooms.
Case 1:24-cv-04108-ALC Document 3-28 Filed 05/30/24 Page 37 of 104

Case 13-2742, Document 1073 A630 1093370, Pagess of 67
= |

12, Furthermore, in 2,915 insiances, a process server claimed to have attemmed or completed
serviee before Une clate: (hut the servied wee eeeiyenedd tn thal process server — another
plysivel impossibiliry.

13. Finally, each of the six most active process servers reported physically impossible travel
times.

14, To detenmine acteal travel time, 1 filtered the relewani dota columns by server ond date,
soned by lime of visit, and nin a comparison witha driving pewle peneiied by Google
Maps.

15. The data shows several inslances where individual prooess servers reported making 40 te
1M) vieits ina day in lesa time thun Google Mapa extinaves iz required for the conlinucus
drive time alone. The Google estimutes aecume a continudgs driving route and do not
hiauide tine for other achivities, such we parking a vehicle, entering a bailding, serving
legal papers, or updating a logbook,

16. The dita alse shave inttunces where prodess servers report having served papers in un
onder that required nonsensical backtracking alone the route.

Vf. Attached as ieehabes B00) threugh Boe) are tables displaying examples of simultaneous
service, impossible travel tines and nonsensical backtracking 1s reported by the six pos
oclive Servers.

18. Fie example, Exisibit O61) shows that on the moming of October 2, 2008, while serving
tefendensts in Suaten Island, Dofealant Moxpecra reper having campleted 10 hours
nd 24 mines ofavel ime in only two hours and five minetes. Oc that maming alone,
Defendant Mozquern consistently backtrecked among zip codes, and also reported four

ingtunces velhbem be owas to two different locations at the exact game lime.
Case 1:24-cv-04108-ALC Document 3-28 Filed 05/30/24 Page 38 of 104

Case 13-2742, Document 1072S e0ls, 1093370, Pagesé of 57
AA

(9, Exhibit B¢2) shows that on December 8, 2007, while serving defendants in the Brom,
Defendom Lombreported having completed 12 hears and 13 ininstes of travel in seven
hours and 10minutes. On that doy alone, Defendant Lamb consistently bockiracked
among zipcodes and alse reported 10 inskinees when he was in two ¢liffersnt locations al
the cxact sanve time.

20, Exhibit Ags) shows that oq Deteber 15, 2007, while serving defendants in Brooklyn,
process server James Stevens reported making visits almost exclusively within five:
mine increncms. A parthculacly odd entry shows thal from 6:00 19 6:45 pim., Mr
Stevens traveled to an address thet according to Google Mapes would inke lim 22
minutes, aot ]3. Mr, Stevens also reported minking this same impossible wig in 15
minules on two other dates for additional service attempts, Also on Qetober 15, 2007,
Wir. Stevens reponed four instaces when be was in two different locntlons at the exer
came time, including one for which be reported simulianegus service atemprs al Ihe same
win addresses on two other dates.

2), Exhibi B(4) shows that on December 15, 2007, while serving deferckines in Brooklyn,
process server Angelo Rivera reponed hiving completed eljpta hours tout 48 minutes of
tvel in six hours and 39 minuies, During thi time period, Mr. Rivera reported a travel
time of one minule fore distance that occording to Google hinps would tnke 3] misvgates
to complete. On that day Mr. River backwwotked among aipoodes repouted|y, and also
reported three inslances where he was in two different locations af the exact sume time,

22. Exhibit 23) shows that on January 28, 2008, while serving defendants in the Brom,
Defendant Agi reported having completed 1 hours and 57 mites of trvel time in

five hows and 36 infmutes. During that time period Defendant Aniling hackimecked
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repeatedly among zip codes, and reported 10 instances where he was in two different
places at the exact same lime,

23. Exhibit B(S) shows that on Getober 6, 2008, process server Asano! Abadeclrlanan
repored muking service attempis in Brooklyn at 16 different addresses in the span of eo
hours and 23 minutes, despite the Fact that the driving time alone among those locations
wintld have taken three hours and 27 minutes. Mir. Abdelmbman reposted cansiatently
tackiecking among zip codes throughout the doy, in one instance claiming a spare of
one minute beaween services when the drive would hawe then ot leas 21 minutes, (he
alse reported an instenee of bemg at teed different addresses a0 tee exact same (inne.

Methods and Vietome of Service

24, The dota shows that a sirlkingly snl! sumber of individunls performed nest of the
reported service, Six individual process servers (Asomat Abdelraiman, John Andi,
Benjamin Lamb, Michael] Mosquera, Angelo Rivera and James Stevens) accounted for
Ta of all service performecl by Sameery for Mel Harris in New York City between
Jnnuary 2007 and Jorwary 2011. Together, these individuals reported 74,426 vervins:

25. The six process servers reported high volumes of service, inélivding hundreds ef days on
which they claimel to lave made more than 40 visits in a single day, Sec ble atuerchel
at Fx,

26, [he six process servers alse teponied widely diversend tates of personal, substituic, and
nail and mil services, Forexample, Ocfendant Mosquera reported personal service in
144 of cases, substitute service in 88% of eases, and mail and mail in 84 of cases,
Defendant Lamb reported personal service in 3% of cases, substi service in 8) 4 of

cases, and almost never reported mail and paul service, Meanwhile, Defendant Andine
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AGG

reported nail and mail service in 80% of cases. See tables and chants allached at Exhibi
D.

27. Overall, Semsery provess servers in New York City reported effecting personal service in
3.$9e.0f cases, substilute service in OO%e aPeeses, ond nail and mail service in 77.4% of
Cage’, .

Payment of Process Servers

28, Samescrv’s daiabase comisins information regarding paymol rales, including wheiber or
foto ptoogss sccver would ies compemsaicd for virpous services outcomes.

29, Vive database indicoies that individual process servers were to be paid from 34.50 ta $10
for cach completed service, with the majority of the servers to be paid bess than $10 per
completed service

40, The databace also indicates thal process servers received np payment when ey reporied
that Whe aelilrase wee nent vialicl Ube ceferelaint liad gavel, ihe defendant wives i A mew
address, the defendant wos no} kntwn wl the service address, the serviee address waza
peal lce box, or the service address lacked an upartinent mamber,

J. In $5%o of NVC Civil Court cases, proeess servers reported an outcome for vhich they

weenie bc previ.
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I declare under penalty of perjury that the foregelng is true end correct.

Dated: July S|, 2001
New York, New York

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Exhibit A - Simultaneous Visits to Different Addresses

Instances when seers report being ai 2 or more addresses al the same line,
for servers who claimed to serve in NYC Civil

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CIVIL COURT OF THE CITY OF NEW YORK
COUNTY OF BRONX

Civil Court of the City of Mew York, County of Bronx,
Index No.: 3361/2023

SYNCHRONY BANK

Plaintiff,
—against-

ERIKA WILSON
Defendantts),

Notion to Dismiss

Print name beneath
Matthew Schedler, OF Counsel

Aiterney: ft
CAMBA LEGAL SERVICES, INC.
Elizabeth Miller, Esq., General Counsel
Office ana Post Office Address, Telephone
20 Snyder Avenue
Brooklyn, Mew York 11225
TI S-S4469 Fl ext. T9222

To: Selip and Siyhanou, LLP
199 Crossways Park Drive
Woodbury, NY 11797
Attomey(s) for Plaintiff

Service of a copy of the within is hereby admitted.
Dated,

Attorney {s) for

